Case 5:24-cv-00072-DCB-ASH   Document 42-7    Filed 05/15/25   Page 1 of 13




           Carolyn Smith, et al. v. Jefferson
              County, Mississippi, et al.

                                Bonita Blake

                               April 18, 2025




             All depositions & exhibits are available for downloading at
                          <<www.brookscourtreporting.com>>
         Please call or e-mail depo@brookscourtreporting.com if you need a
                               Username and Password.




              Mississippi - Louisiana - Tennessee - New York
                              1-800-245-3376



                                    EXHIBIT 7
Case 5:24-cv-00072-DCB-ASH    Document 42-7   Filed 05/15/25   Page 2 of 13

                             Bonita Blake 4/18/2025

                                                                         Page 1
                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                             WESTERN DIVISION

            CAROLYN SMITH, ET AL
                                                                 PLAINTIFFS

            V.               CIVIL ACTION NO. 5:24-CV-0072-DCB-ASH

            JEFFERSON COUNTY,
            MISSISSIPPI, ET AL
                                                                 DEFENDANTS


                         DEPOSITION OF BONITA BLAKE


           Taken at the instance of the Defendants at the Law
             Offices of Carroll Rhodes, 119 Downing Street,
                Hazlehurst, Mississippi 39083, on Friday,
                             April 18, 2025,
                         beginning at 11:26 a.m.




                                    REPORTED BY:
                         ROBIN G. BURWELL, CCR #1651



                             Brooks Court Reporting
                                 1-800-245-3376
Case 5:24-cv-00072-DCB-ASH                   Document 42-7        Filed 05/15/25         Page 3 of 13

                                            Bonita Blake 4/18/2025

                                                 Page 2                                                     Page 4
      1   APPEARANCES:                                        1                   BONITA BLAKE,
      2                                                       2      having been first duly sworn, was examined and
      3     CARROLL RHODES, ESQ.
            Law Offices of Carroll Rhodes                     3      testified as follows:
      4     Post Office Box 588                               4      EXAMINATION BY MR. CARPENTER:
            Hazlehurst, Mississippi 39083                     5         Q. Ms. Blake, I'm Tom Carpenter. And
      5     crhode@bellsouth.net
      6                                                       6      you've been here, so you've heard it all before.
               COUNSEL FOR PLAINTIFF                          7              MR. CARPENTER: So, we'll just go with
      7                                                       8      the usual stipulations and read and sign.
      8
            THOMAS L. CARPENTER, ESQ.                         9              MR. RHODES: Yes.
      9     Wise, Carter, Child & Caraway                    10         Q. (By Mr. Carpenter) Because you know
            2510 14th Street, Suite 1125                     11      what that is by now.
     10     Gulfport, Mississippi 39501
            tlc@wisecarter.com                               12              So, we'll get started straight away with
     11                                                      13      your name, if you could give us that?
     12        COUNSEL FOR DEFENDANT                         14         A. Bonita Blake.
     13
     14   ALSO PRESENT:
                                                             15         Q. And what's your address?
     15     Carolyn Smith                                    16         A. 5247 Red Lick Road, Lorman, Mississippi
            Shaquita McComb                                  17      39096.
     16     Sandra Sanders
            James Ellis, Jr.
                                                             18         Q. And that's here in Jefferson County?
     17                                                      19         A. Yes.
     18                                                      20         Q. Because I know Lorman can kind of creep
     19
     20
                                                             21      into another county.
     21                                                      22         A. Claiborne.
     22                                                      23         Q. Claiborne, that's right.
     23                                                      24              And what do you do currently?
     24
     25                                                      25         A. I work at Tigers Den. And about a week


                                                 Page 3                                                     Page 5
      1                        INDEX                          1      ago I started working at the Sheriff's Department
      2     Style.......................................1     2      in Port Gibson.
      3     Appearances.................................2     3         Q. Okay. From January the 1st of last
      4     Index ....................................3       4      year, 2024, to now, what was your first job?
      5     Certificate of Deponent ..................44      5         A. I was working at the elementary school.
      6     Certificate of Court Reporter .............45     6         Q. Okay. When did that start?
      7                     EXAMINATIONS                      7         A. February of 2024.
      8     Examination By Mr. Carpenter ...............4     8         Q. Got it.
      9     Examination By Mr. Rhodes .................39     9         A. And ended in April of 2024.
     10     Examination By Mr. Carpenter ..............41    10         Q. Okay. And how much were you making
     11                                                      11      there?
     12                                                      12         A. They say $10.
     13                                                      13         Q. Okay. They say.
     14                                                      14         A. But it wasn't no $10.
     15                                                      15         Q. Right. I joke, and I sure don't want to
     16                                                      16      start a family dispute, but we can ask Ms. Smith.
     17                                                      17      She's right behind us. President of the school
     18                                                      18      board can answer that question for you. But we'll
     19                                                      19      do that on another day.
     20                                                      20             And what were you making at the
     21                                                      21      correctional facility?
     22                                                      22         A. $10.41.
     23                                                      23         Q. And in February of '24, where did you --
     24                                                      24      what was your next job?
     25                                                      25         A. Nothing, until this year.


                                                                                      2 (Pages 2 to 5)
                                            Brooks Court Reporting
                                                1-800-245-3376
Case 5:24-cv-00072-DCB-ASH                Document 42-7             Filed 05/15/25          Page 4 of 13

                                       Bonita Blake 4/18/2025

                                                 Page 6                                                        Page 8
      1      Q.    How about Tigers Den, when did that          1         A. Yes, sir.
      2   start?                                                2         Q. And so then you got to have C and D to
      3      A.   This year, 2025.                              3     fill the week in that you're off?
      4      Q.   And what is Tigers Den?                       4         A. Yes, sir.
      5      A.   A food stand.                                 5         Q. And so at the end of two-week period,
      6      Q.   And how much were you making there?           6     you might have 80 hours in from the first week,
      7      A.   8.75.                                         7     but it balances out to 40 hours a week --
      8      Q.   And how long was that job?                    8         A. Yes.
      9      A.   I'm currently working, currently.             9         Q. -- over the two weeks?
     10      Q.   But you've got an upcoming job?              10             Gotcha. Firefighters do the same thing.
     11      A.   I have two jobs at the same time.            11             All right. Let's see. And what is
     12      Q.   Gotcha.                                      12     current age?
     13          So you're still working for Tigers, and       13         A. 49.
     14   then you're also -- what's the job that you just     14         Q. And when did you graduate from high
     15   got?                                                 15     school?
     16      A. Jailer at the Sheriff's Department in          16         A. May of 1994.
     17   Claiborne County.                                    17         Q. Okay. Was it here in Jefferson County?
     18      Q. Okay. Port Gibson?                             18         A. Yes, sir, it was.
     19      A. Yes, sir.                                      19         Q. And did you go on to college?
     20      Q. Okay. And how much are you making              20         A. No, sir, I didn't.
     21   there?                                               21         Q. Okay. As part of -- and I know I didn't
     22      A. $11.                                           22     ask this from others. But as part of the training
     23      Q. Got it. And so between April of '24 and        23     as a correctional officer, did you have to go to
     24   January '25, it looks like you weren't working?      24     something like the LEA, Law Enforcement Academy or
     25      A. No, I wasn't.                                  25     something?


                                                 Page 7                                                        Page 9
      1       Q. And what were you doing in terms of            1         A. Yes. We went under Sheriff Walker.
      2   looking for work?                                     2         Q. Got it.
      3       A. I did applications and I went into             3             Do you get a certification for going to
      4   businesses asking about a job. I did a                4      LEA?
      5   application at the Family Dollar Tree in Fayette.     5         A. Yeah, we got certified. Yes, sir.
      6   I did one at the supermarket. And that's it.          6         Q. And so when you started back with
      7       Q. Okay. And I didn't ask this of the             7      Claiborne County, do you have to get recertified
      8   other -- of everybody else, but I think it's going    8      there?
      9   to apply to everybody. For $10.45 an hour, was        9         A. No. I didn't have to get certified.
     10   that 40-hour a week, overtime. What would a          10         Q. In other words, it sticks around for a
     11   typical number of hours be for working at the        11      while, the certification?
     12   Facility?                                            12         A. Yes.
     13       A. It was like seven days on, seven days         13         Q. I think in this case you didn't see any
     14   off.                                                 14      medical providers?
     15       Q. So it worked out to be -- when you            15         A. No.
     16   say -- so you're doing --                            16         Q. That's why everyone is joking about you
     17       A. It was like we made 86 hours, you know,       17      being shorter than everyone else, because we don't
     18   every pay period. So it was like 43 hours every      18      have 20 or so pages to go through.
     19   week.                                                19             All right. Looking -- there's some
     20       Q. Yeah, now I follow you.                       20      questions about pumping gas and some things like
     21          So that's why there's A, B, C, D?             21      that.
     22       A. Yes, sir.                                     22         A. Yes, sir.
     23       Q. Because you might have an A and B shift,      23         Q. So we'll cover that. We'll start on
     24   day shift, night shift, but then y'all are off for   24      that.
     25   a week.                                              25             As I understand it, you started in


                                                                                        3 (Pages 6 to 9)
                                       Brooks Court Reporting
                                           1-800-245-3376
Case 5:24-cv-00072-DCB-ASH                Document 42-7             Filed 05/15/25         Page 5 of 13

                                       Bonita Blake 4/18/2025

                                                Page 10                                                     Page 12
      1   December of 2020?                                     1     working with someone that someone was terminated
      2       A. Yes, sir, I did.                               2     for harassment of inmates?
      3       Q. All right. And what was your --                3         A. No.
      4       A. December the 16th of 2020.                     4         Q. Okay. Were you a supervising CO, that
      5       Q. Got it.                                        5     is to say when new COs started, were there any put
      6          And when you were there, you were              6     under you for oversight?
      7   correctional officer?                                 7         A. No.
      8       A. Yes, sir.                                      8         Q. Did you ever receive any writeups at
      9       Q. Did you have a particular function, like       9     all, that you know of?
     10   tower operator with Ms. McComb, or was it a just a   10         A. Probably did, yeah.
     11   general CO?                                          11         Q. What for?
     12       A. Well, I had different -- we did               12         A. They wasn't handheld. We just went into
     13   different -- we didn't just have one title because   13     the office and, you know, different little things.
     14   you could work the tower or you could work the       14         Q. Yeah. Can you give us some ideas?
     15   floor. So, I did control three. I worked control     15         A. Harassing of a inmate -- you know, like
     16   three, four, one in tower.                           16     talking crazy to a inmate, the inmate writing you
     17       Q. And when you say three, four and one,         17     up because they want to write you up.
     18   what positions would they be?                        18         Q. Did that happen with you on any
     19       A. Control one is the tower operator.            19     particular occasion?
     20       Q. Okay.                                         20         A. Yeah, it have.
     21       A. Control three is a tower operator.            21         Q. All right. Did the inmates -- did you
     22       Q. Okay.                                         22     ever know which inmate?
     23       A. Control four is a tower operator.             23         A. No.
     24          Control two is where all the officers         24         Q. Did they talk about more than just you,
     25   sit and monitor the zones that's in the back.        25     but a bunch of folks who were harassing them?


                                                Page 11                                                     Page 13
      1       Q. Okay. Are there specific COs whose job         1             MR. RHODES: Object to the form.
      2   is to not monitor, for example, video screens, but    2         Q. (By Mr. Carpenter) If you know.
      3   actually walk the floors; or is that something        3         A. No, I don't.
      4   everybody does?                                       4         Q. And I'll sort of clarify by that. For
      5       A. The COs do it. The one that's in               5      example, did you ever have a complaint from a
      6   control of two.                                       6      supervisor where an inmate might have said hey,
      7       Q. Control two.                                   7      Ms. Blake and two other COs were bothering me?
      8           So that would be the group that would be      8         A. No.
      9   responsible for not looking at the towers, but        9         Q. All right. How many -- how many times
     10   getting down there and looking at stuff?             10      do you recall being asked by a supervisor or
     11       A. Yes, sir.                                     11      someone over you regarding harassing an inmate?
     12       Q. And what was your -- as a CO you worked       12         A. Probably once or twice.
     13   all of those roles?                                  13         Q. Gotcha.
     14       A. Yes, sir.                                     14             And tell me, on those occasions, do you
     15       Q. Okay. Now, was there ever an occasion         15      recall the supervisor that talked to you?
     16   in which you were working at the Facility when you   16         A. I went to talk to the warden.
     17   might have had a medical problem that you had any    17         Q. And that's Warden Kaho?
     18   ambulances called for; did that ever happen?         18         A. Yes.
     19       A. For me?                                       19         Q. What did he say?
     20       Q. Yes, ma'am.                                   20         A. He just told me not to tone my voice,
     21       A. No, sir.                                      21      the way I talked to the guys.
     22       Q. Okay. Fair enough. Now I know.                22         Q. So it was more -- and he didn't say
     23   There's five folks and I'm getting that -- that      23      anything about what you were saying to them?
     24   makes sense.                                         24         A. No, he just told me I need to get -- you
     25           Were there any occasions when you were       25      know, just control my mouth.


                                                                                   4 (Pages 10 to 13)
                                       Brooks Court Reporting
                                           1-800-245-3376
Case 5:24-cv-00072-DCB-ASH                Document 42-7             Filed 05/15/25          Page 6 of 13

                                       Bonita Blake 4/18/2025

                                                Page 14                                                      Page 16
      1       Q. And because I've been in military, I           1      call that Shawn Jones paid for your gas. I say,
      2   kind of know what that means. Did he mean you         2      what? I said, paid for my gas? I say no, that
      3   were saying things to them that were bothering        3      man didn't pay for my gas.
      4   them or was it just your -- like drill sergeant?      4          Q. Right.
      5       A. Yeah, the way I deliver it. My                 5          A. And he said, you got me. I was like,
      6   delivery.                                             6      this man ain't pay for my gas. And my thing is
      7       Q. Was it too forceful or too light?              7      this, he didn't know whether I'm screwing this man
      8       A. It's like I'm more aggressive.                 8      or not. That wasn't a job of his to call me and
      9       Q. Did he ever say that there was a               9      ask me a question.
     10   question about ever using any cussing or --          10          Q. Right. But that didn't have -- that
     11       A. No.                                           11      particular thing had no ways, nothing to do with
     12       Q. None of that. Got it.                         12      him being a nice guy and pumping your gas at the
     13           And what was your response to that?          13      gas station?
     14       A. I just told him, okay, I'll get better.       14          A. That's it.
     15       Q. Fair enough.                                  15          Q. And he didn't pay for any of it?
     16           And you never got anything in writing        16          A. He didn't pay for nothing. My grandbaby
     17   from anybody at the Facility?                        17      was in the car and that was a help for me, for him
     18       A. No. Nothing but that termination              18      to stand there and pump my gas and make sure my
     19   letter.                                              19      grandbaby was safe too.
     20       Q. But nothing regarding discipline --           20          Q. Did you know Mr. Jones before?
     21       A. No.                                           21          A. Yes, we are classmates. We went to
     22       Q. Okay. And no -- the Sheriff, himself,         22      school together.
     23   never came down and said anything about this?        23          Q. Now, Sheriff Bailey was not in y'all's
     24       A. No. Never did come over there, talk to        24      class?
     25   you.                                                 25          A. No.


                                                Page 15                                                      Page 17
      1       Q. All right. Now, this is what I was --          1          Q. Shawn was?
      2   when I mentioned pumping gas. Tell me about the       2          A. Yes.
      3   pumping gas incident.                                 3          Q. Gotcha.
      4       A. Well, one day I was pumping gas. And           4             So you -- and there's nothing wrong with
      5   this other guy that used to work there, his name      5      this. You've been friends off and on with Shawn
      6   is Sergeant Robinson, he was on the opposite side     6      because you were classmates?
      7   of the pump. And I had my grandbaby in the car.       7          A. Yes.
      8   But upon me getting out of my car, Mr. Jones          8          Q. So he comes up and he offers to pump the
      9   pulled up. And I got ready to walk in the store,      9      gas; and as you told him, don't do it until I tell
     10   but I was talking to Sergeant Robinson at the same   10      you how many dollars?
     11   time.                                                11          A. Yes.
     12       Q. Right.                                        12          Q. $9. And then you got a call from
     13       A. And when I was walking in the store,          13      Sheriff Bailey about it?
     14   Mr. Jones was interacting with Sergeant Robinson,    14          A. Sheriff Bailey.
     15   and he asked me did I want him to -- he say he'll    15          Q. And basically, you told him what you
     16   pump my gas. He didn't ask me. He said I'll pump     16      told him. And at that point, he was left with the
     17   your gas for you while you gone in the store. And    17      impression that he did not pay for your gas?
     18   I say hold up, let me see how much I'm going to      18          A. That's it.
     19   get before you pump it. And I told him $9. And I     19          Q. Was that the end of that conversation?
     20   went on in the store and pumped the gas. When I      20          A. That was the end of that conversation.
     21   came back out, Mr. Jones was back in his truck.      21          Q. Now --
     22   He didn't say anything else to me.                   22          A. No, he went on asking me did I have his
     23       Q. Right.                                        23      support -- did he have my support and I told him
     24       A. At about 6:42 that evening, my phone          24      yeah.
     25   rung. It was Sheriff Bailey. He said, I got a        25          Q. Because at that point, he's just pumping


                                                                                    5 (Pages 14 to 17)
                                       Brooks Court Reporting
                                           1-800-245-3376
Case 5:24-cv-00072-DCB-ASH                Document 42-7             Filed 05/15/25          Page 7 of 13

                                       Bonita Blake 4/18/2025

                                                Page 18                                                     Page 20
      1   gas. It wasn't like he was paying for your car?       1             All right. So then he says, "Sheriff
      2       A. No.                                            2      Bailey told people in the community he had to get
      3       Q. And so was there anything -- because           3      rid of the snakes in the Facility."
      4   that would have been, as I read paragraph 62, that    4          A. Yes.
      5   was between the -- when I say then primary            5          Q. Did you hear him say that?
      6   general -- first primary election and then the        6          A. No. Too many peoples in the community
      7   runoff?                                               7      and peoples in the office came to me and told me.
      8       A. Yes.                                           8          Q. Okay. And then -- and the reason -- and
      9       Q. When the runoff was down to the Sheriff        9      Carroll knows -- we're looking to see what you
     10   and Shawn Jones?                                     10      heard and then what others heard. Who in the
     11       A. Yes.                                          11      community told you that that's what the Sheriff
     12       Q. And so after the runoff was over with,        12      had said?
     13   it says paragraph 63, "Sheriff Bailey said he was    13          A. Samantha Jackson. She's the tax
     14   going to have Bonita Blake drug tested." Did he      14      assessor. Gene Stampley. He owns a little corner
     15   tell you that?                                       15      store right beside the Sheriff Department.
     16       A. No.                                           16          Q. Now, is he related to Derrick Stampley?
     17       Q. Okay. Who did he tell?                        17          A. No, I don't think so.
     18       A. Somebody came to me and told me that          18          Q. Because if I'm not mistaken, he was also
     19   Sheriff Bailey said he was going to have me drug     19      running. There was a Derrick Stampley running?
     20   tested.                                              20          A. Yes, Derrick Stampley. That's another
     21       Q. Were you drug tested?                         21      classmate.
     22       A. No.                                           22          Q. But there's no relation?
     23       Q. All right. Because it also goes on to         23          A. No.
     24   say Sheriff Bailey was going to use the drug test    24          Q. All right. Fair enough.
     25   as a pretext for firing you.                         25          A. I can't answer that question because I


                                                Page 19                                                     Page 21
      1       A. Okay.                                          1      don't know who's kin and who's not.
      2       Q. But he didn't tell you that?                   2         Q. Now, it indicates, paragraph 66, "Bonita
      3       A. No, he didn't.                                 3      Blake actively supported another candidate other
      4       Q. I know it's a close knit community. Who        4      than James Bailey." Is that -- do you recall?
      5   basically did say --                                  5         A. No.
      6       A. My son, DeAnthony Blake.                       6         Q. You voted?
      7       Q. Now, did your son work there?                  7         A. Yes.
      8       A. No, he heard -- people was talking to          8         Q. Whatever you voted, and it really
      9   him about it.                                         9      doesn't matter, but you just voted?
     10       Q. Gotcha.                                       10         A. Yes.
     11          This is the way every small town in the       11         Q. But no yard signs?
     12   state of Mississippi works. It should be in the      12         A. No.
     13   city charter.                                        13         Q. Because as Carroll knows, door knocking,
     14          And so he -- but it did get back to you       14      no phone --
     15   --                                                   15         A. No.
     16       A. Yes, it did.                                  16         Q. Gotcha. Okay.
     17       Q. -- because that's where it was going?         17         A. And Lieutenant Terry Ware, with the
     18          But, in fact, he didn't do the drug           18      statement about he was getting rid of the people,
     19   test?                                                19      because we would go on a run, transportation, and
     20       A. No. And I was still employed at the           20      he would be talking about it.
     21   time.                                                21         Q. And Lieutenant Terry Ware, he's in
     22       Q. That's right. Because this would have         22      charge of transportation?
     23   been before December 31?                             23         A. Yes.
     24       A. Yes.                                          24         Q. And where would he be in the chain of
     25       Q. Got it. Okay.                                 25      command?


                                                                                    6 (Pages 18 to 21)
                                       Brooks Court Reporting
                                           1-800-245-3376
Case 5:24-cv-00072-DCB-ASH                Document 42-7            Filed 05/15/25         Page 8 of 13

                                       Bonita Blake 4/18/2025

                                               Page 22                                                     Page 24
      1        A. He's a lieutenant.                           1      election.
      2        Q. Okay. Because we were saying before,         2         Q. That's what I wanted to focus on.
      3   there's --                                           3             So he specifically mentioned the
      4        A. He comes up under -- he comes after --       4      support -- and let me ask this question: When was
      5   it's the sergeant, the lieutenant. Then you got      5      that meeting?
      6   the captain, the major, the deputy warden and the    6         A. I can't recall it.
      7   warden.                                              7         Q. Sometime in '23?
      8        Q. Correct.                                     8         A. Yeah, sometime in '23.
      9           And so what was his job role as              9         Q. Okay. And then there was -- okay. And
     10   lieutenant?                                         10      he did mention support election?
     11        A. He did -- he was a night shift              11         A. Yes.
     12   lieutenant.                                         12         Q. And that -- did he also mention that he
     13        Q. I follow you. So whereas you've got         13      needed support in the running of the Facility so
     14   Ms. Smith as lieutenant for that shift, he was a    14      he could go lobby for more cash?
     15   lieutenant for another shift?                       15         A. Yes.
     16        A. Yes, sir.                                   16         Q. More specifically, a higher per diem for
     17        Q. Follow you.                                 17      the inmates?
     18           And then he would report to the captain     18         A. Yes, to get us a raise.
     19   and on up the chain from there?                     19         Q. That's right.
     20        A. Yes, sir.                                   20             Was he able to do that, in terms of
     21        Q. Okay. Now, after the primary election,      21      giving y'all a raise?
     22   the runoff -- because as we were saying before,     22         A. Yes, I received one.
     23   just like in Long Beach, if it's the republican     23         Q. Gotcha. All right.
     24   primary, there ain't no general election. So in     24             And once -- other than that mandatory
     25   Fayette, in Jefferson County, in the democratic,    25      meeting, though, he didn't say anything more to


                                               Page 23                                                     Page 25
      1   there ain't no general election here. So that was    1     you about supporting him?
      2   it after the primary was over?                       2         A. No.
      3       A. Yes, sir.                                     3         Q. Did anybody else?
      4       Q. Did Sheriff Bailey mention anything to        4         A. No.
      5   you between the end of that runoff election and      5         Q. Okay. And so when you got -- and did
      6   December 31st about your participation, helping      6     you have to reinterview?
      7   him out in an election?                              7         A. Yes.
      8       A. No.                                           8         Q. And did he mention the election in that
      9       Q. Were you in attendance -- because I know      9     interview?
     10   Ms. McComb just mentioned that there was -- and I   10         A. Yes.
     11   think it was Ms. McComb -- that there was a         11         Q. What did he say?
     12   mandatory meeting?                                  12         A. Well, see, my interview, I had to go
     13       A. Yes, sir.                                    13     over for a complaint about another person.
     14       Q. Were you present for that?                   14         Q. What was that?
     15       A. Yes, sir.                                    15         A. I was having a problem with Ms. McComb.
     16       Q. What did he say?                             16         Q. Okay.
     17       A. Well, he was talking about the ACA, the      17         A. And when I went in, I was telling him
     18   election, and he was talking about the raise,       18     about the problem, and he made the statement that
     19   about the amount of inmates he needed to get to     19     he had been getting complaints about Ms. McComb.
     20   get the raise for us.                               20         Q. Okay.
     21       Q. Right.                                       21         A. And that I wouldn't have that problem to
     22       A. He was going to some kind of meeting in      22     worry about no longer because he was going to take
     23   Jackson and all these different places to get       23     care of the issue.
     24   raises for us. And talking about the support that   24         Q. Did he say how he was going it take care
     25   he needed from his workers for him in the           25     of it?


                                                                                   7 (Pages 22 to 25)
                                       Brooks Court Reporting
                                           1-800-245-3376
Case 5:24-cv-00072-DCB-ASH                Document 42-7            Filed 05/15/25          Page 9 of 13

                                       Bonita Blake 4/18/2025

                                               Page 26                                                      Page 28
      1       A. He didn't say how he was going to take        1     deputy came over. And he called Mr. Ellis first.
      2   care of it. He said he was going to take care of     2     And after Mr. Ellis went down there, he called for
      3   it.                                                  3     me to come down there to intake. And when we made
      4       Q. And what were the complaints?                 4     it to intake, he said I have a letter for you. He
      5       A. Scandalizing my name.                         5     say you sign right here, so I signed for the
      6       Q. Let me make sure I understand that. I         6     letter. And when I opened the letter, I read it.
      7   think I do, but let me make sure.                    7     And it said that my termination -- and then it
      8          So, you were telling the Sheriff that         8     said if you have any questions, you can contact
      9   she was saying negative things about you?            9     Sheriff Bailey.
     10       A. Yes, that wasn't true.                       10         Q. Right.
     11       Q. All right. And his response was -- and       11         A. So I asked my sergeant could I go up
     12   was it related to your work at the Facility?        12     front to use the phone to call Sheriff Bailey. No
     13       A. Yes.                                         13     answer. I called him the next day. No answer. I
     14       Q. And his response was, "I'm going to take     14     still have yet to this day to talk to Sheriff
     15   care of that"?                                      15     Bailey about why he terminated me.
     16       A. Yes, sir. He said he had been getting        16         Q. Right.
     17   too many complaints about Ms. McComb.               17             Okay. Did anyone else, other than
     18       Q. And did he mention what those complaints     18     Sheriff Bailey, give you an idea of why you might
     19   were?                                               19     have been terminated?
     20       A. No.                                          20         A. Because I didn't vote for him.
     21       Q. Now, did -- and I'm putting all this         21         Q. Okay. Now, as I understand it, did he
     22   together in terms of who worked for what, where.    22     ask you before the election if you were going to
     23          Were you on the same shift with              23     vote for him?
     24   Ms. McComb?                                         24         A. Yes, he did.
     25       A. No.                                          25         Q. Where was that? Because I know


                                               Page 27                                                      Page 29
      1      Q. But you were hearing these from other          1      somewhere around the gas pumping incident.
      2   correction officers?                                 2          A. He asked me during the gas -- when he
      3      A. What?                                          3      called me on the phone. And then one day I was
      4      Q. You were hearing things that Ms. McComb        4      parking my car and he had walked out there, but he
      5   might have been saying about you from other          5      was talking to someone else. And then he walked
      6   officers?                                            6      over to my car and he said, I've got your vote,
      7      A. Yes.                                           7      right, Hometown. Because we stay in the same
      8      Q. To your knowledge, none of this was            8      little hometown. And I answered yes. And that
      9   written up that you ever saw by anybody, like a      9      was it.
     10   document?                                           10          Q. And I'm being picky, because that's what
     11      A. No.                                           11      lawyers do. You know, so that's all right.
     12      Q. And we were talking about when you were       12      Carroll's good at it too.
     13   with the warden he was like use an indoor voice.    13              So, you actually told him that you were
     14   I'm joking because I'm thinking Barney the          14      supporting him?
     15   Dinosaur. But, you know, use a softer tone. That    15          A. Yeah.
     16   wasn't written up either.                           16          Q. But if I understand it, somehow, some
     17      A. No.                                           17      way he found out you weren't?
     18      Q. And you just said you'll work on it and       18          A. Yes.
     19   that was the end of that?                           19          Q. And that's what he acted on?
     20      A. Yes.                                          20          A. Yes.
     21      Q. Did the Sheriff say anything to you           21          Q. Fair enough. I get it.
     22   after -- I say termination, but after you weren't   22              Do you recall writing any letters or
     23   rehired?                                            23      anything, because I'm not seeing it, but I want to
     24      A. The day we -- I worked the whole shift.       24      make sure. Did you file a grievance?
     25   And right before we got ready to get off, the       25          A. No. Because it was after the timeframe,


                                                                                   8 (Pages 26 to 29)
                                       Brooks Court Reporting
                                           1-800-245-3376
Case 5:24-cv-00072-DCB-ASH               Document 42-7              Filed 05/15/25         Page 10 of 13

                                       Bonita Blake 4/18/2025

                                                Page 30                                                      Page 32
      1   you know, the 10 days you have to file a              1         Q. And how were you injured?
      2   grievance.                                            2         A. My knee, my shoulder and my head.
      3       Q. Right.                                         3         Q. All right. Was there a period of time
      4       A. And when I found out about it, it was,         4      you couldn't work because of those injuries?
      5   you know, past the timeframe for you to file your     5         A. No. When I had my surgery on my knee I
      6   grievance.                                            6      couldn't work.
      7       Q. Got it. All right.                             7         Q. And that was for about two weeks or a
      8       A. And then they was talking about                8      month?
      9   something in the handbook, that you -- dealing        9         A. Yeah, two weeks.
     10   with the grievance and stuff like that.              10         Q. And did that have to go to court, like
     11       Q. Absolutely.                                   11      went to a trial?
     12          Going to your interrogatories -- and          12         A. Yes, we went to trial.
     13   yeah, we're going to be done by noon.                13         Q. All right. And you recovered?
     14          (Off the record conversation.)                14         A. Yes, sir.
     15       Q. (By Mr. Carpenter) Who is Joyce Lee?          15         Q. Who was the attorney on that one for
     16       A. She was the nurse.                            16      you?
     17       Q. The nurse at the Correctional Facility?       17         A. Morgan and Morgan.
     18       A. Yes, sir.                                     18         Q. Oh, I know them well.
     19       Q. Did she tell you that she'd heard that        19            Do you know the attorney that worked for
     20   Sheriff Denton{sic} was going to do something to     20      you?
     21   you?                                                 21         A. Will -- I had Will, Paul and -- Paul
     22       A. She was just talking in general about         22      Ott, Will -- it was another one. I had one more.
     23   the -- Sheriff Bailey, how he was going to get rid   23         Q. Gotcha. Yeah, I know them.
     24   of the snakes.                                       24            (Off the record conversation.)
     25       Q. Okay.                                         25         A. And Rocky.


                                                Page 31                                                      Page 33
      1       A. Because when I went for my interview, he       1          Q. Rocky Wilkins.
      2   sat with his phone just like this (indicating).       2          A. Yeah.
      3   He was talking, "I got to get rid of the people       3          Q. He does a lot of premises work, too.
      4   that's not here to support me."                       4             Now, in Interrogatory Number 13 -- these
      5       Q. And he told you that?                          5      are interrogatories you recall answering. And it
      6       A. Yes.                                           6      said, "I supported candidate Shawn Jones for
      7       Q. And that would have been in the                7      sheriff" when it says, "Please identify the
      8   reinterview?                                          8      candidate you supported instead of Sheriff
      9       A. Yes.                                           9      Bailey," because you had mentioned that in your
     10       Q. And did he elaborate when he said             10      answers. But you supported him, but you didn't
     11   "didn't support me," as in?                          11      say anything about it?
     12       A. People that didn't have his back.             12          A. No.
     13       Q. Did he mention the election?                  13          Q. Which is fine. Because as I think
     14       A. No.                                           14      Ms. McComb said, "Who I vote for is my own doggone
     15       Q. All right. But that's what you                15      business."
     16   understood him to mean?                              16          A. Yeah.
     17       A. Yes.                                          17          Q. Did you do any -- and you also
     18       Q. Now, in 2024, you were in a traffic           18      mentioned, other than voting, you didn't get
     19   accident with a log truck?                           19      actively involved in the election?
     20       A. In 2019. I had a case. My case went to        20          A. Huh-huh. (Negative response.)
     21   court in 2024.                                       21          Q. Now, one of the claims that you had made
     22       Q. I got it.                                     22      is for emotional distress. When did you feel your
     23          What happened -- and what happened in         23      emotional distress get better?
     24   that lawsuit?                                        24          A. It hasn't gotten better.
     25       A. I won my case.                                25          Q. Okay. So we do this for physical pain,



                                                                                    9 (Pages 30 to 33)
                                       Brooks Court Reporting
                                           1-800-245-3376
Case 5:24-cv-00072-DCB-ASH                Document 42-7             Filed 05/15/25        Page 11 of 13

                                        Bonita Blake 4/18/2025

                                                Page 34                                                     Page 36
      1   and having been in a truck accident you'll know       1      everyday life. Get prepared. Because I have a
      2   exactly because your lawyers probably did it too.     2      grandbaby and I gets her up for school. So, I get
      3   You use a term 0 to 10, 0 being I never had that      3      up and get her prepared for school. Because my
      4   accident; I'm fine. 10 of 10, I need to be in         4      daughter, she works at night. That's my -- I just
      5   emergency today but I got to be here instead. And     5      balance my everyday life with whatever I have to
      6   it's a range that we use to try to gather the         6      do.
      7   intensity of pain. You can use it for physical,       7          Q. Now, in the log truck accident, with
      8   but you can use it for emotional too.                 8      Rocky and everybody, did you have to give a
      9           In January of 2024, what would you feel       9      deposition?
     10   your anxiety, your depression, your emotional        10          A. Yes, sir, I did.
     11   distress was relating to the Facility?               11          Q. All right. Has that case settled?
     12        A. Sleep.                                       12          A. Yes, sir, it has.
     13        Q. What?                                        13          Q. All right. Did you have to give live
     14        A. Sleep. I can't sleep. My body is set         14      testimony when you went to trial?
     15   to a time.                                           15          A. No, I didn't -- we went to trial and we
     16        Q. Right.                                       16      just settled out of court before. The other --
     17        A. And it was like 4:00 in the morning I'm      17      the plaintiff{sic} testified. They went up first.
     18   getting for work to get to be at work at 5:45.       18      And then when it got to be -- we just settled out
     19   And my body's still having to adapt to, you know,    19      of court.
     20   everyday life. You know, at 4:00, I'm up. I          20          Q. Were you a plaintiff in that trucking
     21   can't go back to sleep. I'm -- you know, and it's    21      case in the log truck case?
     22   depressing because I'm not getting enough hours of   22          A. Yes.
     23   rest.                                                23          Q. Was there more than one plaintiff?
     24        Q. And on a scale of 0 to 10 -- and we're       24          A. Just me.
     25   going to try to figure out if it's getting better,   25          Q. Just you. Okay.


                                                Page 35                                                     Page 37
      1   if it's not getting better, where the intensity       1              So, typically -- usually plaintiff goes
      2   is. But the month after this happened, where          2      first, then defense. But you didn't get to the
      3   would you have been on anxiety and depression? 0      3      point in your case, your side of the case, where
      4   of 10 being okay; 10 of 10 being I need to be in a    4      you had to testify?
      5   emergency room. Where would you fit --                5          A. Yes.
      6       A. About a seven.                                 6          Q. In other words, they settled on the
      7       Q. And we're just going arbitrarily               7      courthouse steps?
      8   numbers. There's no -- but it's a good signpost.      8          A. Yes.
      9            So we get from January '24, December         9          Q. So the only thing that would be there
     10   '24. Now we're a year away from when this            10      would have been a deposition taken at some point?
     11   happened. What would you say the intensity of it     11          A. Yes.
     12   would be in December of '24, yeah, end of '24?       12          Q. And where was that filed?
     13       A. Getting better?                               13          A. The case?
     14       Q. Yes.                                          14          Q. The lawsuit, yeah.
     15       A. It's not getting better.                      15          A. In Claiborne County.
     16       Q. So, we're still at a seven?                   16          Q. Claiborne County. Okay.
     17       A. Yeah.                                         17              All right. Now, were you -- again,
     18       Q. We are now in April of '25. Would you         18      we're going specifically from December 31 of '23,
     19   still say it's a seven?                              19      when you got let go, to, let's say, throughout
     20       A. It's a seven.                                 20      2024. Were you still having physical pain from
     21       Q. Have you been to any -- and I know we         21      that trucking accident?
     22   talked about you have no medical records?            22          A. Yes, I still have it now.
     23       A. No.                                           23          Q. Gotcha.
     24       Q. So, how are you dealing with it?              24              Where does it hurt now?
     25       A. Everyday just get on up and start my          25          A. In my leg and in my back.


                                                                                 10 (Pages 34 to 37)
                                        Brooks Court Reporting
                                            1-800-245-3376
Case 5:24-cv-00072-DCB-ASH               Document 42-7              Filed 05/15/25         Page 12 of 13

                                        Bonita Blake 4/18/2025

                                                Page 38                                                      Page 40
      1      Q. Has your shoulder gotten better?                1          A. What I can remember is, when the phone
      2      A. Yes.                                            2      rung, I answered the phone. And I say -- well,
      3      Q. All right. And are you treating                 3      when I seen the number, I say Sheriff Bailey, what
      4   medically for your physical pain from the trucking    4      he want, what I done did. So when I answered the
      5   accident?                                             5      phone, he say, Hey, Ms. Blake. I say, Hey,
      6      A. No.                                             6      Sheriff Bailey, how you doing. I say what I done
      7      Q. All right. When's the last time you             7      did wrong. He say, nothing. He say, I got
      8   went to a doctor regarding your -- the log truck      8      something to ask you. I say, what is it. He say
      9   case?                                                 9      I got a call that Mr. Jones paid for your gas. I
     10      A. It's been a long -- it's been a minute.        10      say, what. I say, no, he didn't pay for my gas.
     11      Q. Because it was back in 2019?                   11      I said, I paid for my own gas. I say Sergeant
     12      A. Yes, sir.                                      12      Robinson was standing on the other side and that
     13      Q. Have you had, between 2019 and now, any        13      man pulled up. He was talking to Sergeant
     14   workers' comp injuries?                              14      Robinson at first. And when I got ready to go in
     15      A. No, sir.                                       15      the store, he told me he will pump my gas. And I
     16      Q. So this is really the only one you had?        16      say he pumped my gas and that was it. Me and him
     17      A. Yes, sir.                                      17      didn't talk to each other.
     18      Q. And do you -- do you have children that        18             That was it. That was the end of the
     19   live with you?                                       19      conversation.
     20      A. Yes, sir.                                      20          Q. Did Sheriff Bailey say anything else?
     21      Q. How many children do you have?                 21          A. That's it.
     22      A. I have three kids. But my daughter and         22          Q. And who do you recall telling you that
     23   granddaughter stay with me.                          23      he said he was going to get rid of the snakes?
     24      Q. So while you're at work, they're taking        24          A. My son, the tax assessor, Samantha
     25   care of the kids?                                    25      Jackson, Gene Stampley, and, like I say,


                                                Page 39                                                      Page 41
      1       A. Yes.                                           1      Lieutenant Ware. He would say when we would go on
      2       Q. And does your daughter work?                   2      the runs, like the transportation.
      3       A. Yes.                                           3          Q. And did all of them tell you at one
      4       Q. So you're working and she's working and        4      meeting or at different times?
      5   y'all are maintaining the household?                  5          A. At different times.
      6       A. Yes, sir.                                      6          Q. Over what period of time did you hear
      7       Q. Excellent. All right.                          7      that?
      8          I think that's all I've got.                   8          A. The whole time --
      9          MR. CARPENTER: Carroll?                        9          Q. The election was --
     10   EXAMINATION BY MR. RHODES:                           10          A. Yeah.
     11       Q. Let me ask you about the Sheriff.             11          Q. So, over a two or three-month period?
     12          Why do you think he thought that you did      12          A. Two or three-month period, six months.
     13   not support him?                                     13      Still until this day you hear it. When you go in
     14          MR. CARPENTER: Objection.                     14      the store you still hear it.
     15          THE WITNESS: The day Shawn Jones pumped       15          Q. Okay.
     16   my gas.                                              16      EXAMINATION BY MR. CARPENTER:
     17          MR. CARPENTER: Objection, but of course       17          Q. Which raises a good question: Are you
     18   you can go ahead and answer. He already knows.       18      claiming that you have any humiliation or loss of
     19       Q. (By Mr. Rhodes) When did the sheriff          19      reputation from this?
     20   call you, that next morning?                         20          A. Yes.
     21       A. That same that day, that evening. At          21          Q. But on the other hand, everyone you know
     22   6:42 that evening.                                   22      is telling you that you were let go not for
     23       Q. Tell us exactly what he said to you           23      anything you did, but because you didn't -- you
     24   about that incident about Shawn Jones pumping your   24      just didn't happen to support him?
     25   gas.                                                 25          A. Yes.


                                                                                  11 (Pages 38 to 41)
                                        Brooks Court Reporting
                                            1-800-245-3376
Case 5:24-cv-00072-DCB-ASH               Document 42-7              Filed 05/15/25                  Page 13 of 13

                                       Bonita Blake 4/18/2025

                                                Page 42                                                                    Page 44
      1       Q. And that by itself, in your mind, is not      1               CERTIFICATE OF DEPONENT
                                                               2     DEPONENT: BONITA BLAKE
      2   something that's wrong, because you have the right         DATE: April 18, 2025
                                                               3     CASE STYLE: Smith, et al vs. Jefferson County,
      3   to choose whomever you want?                               Mississippi, et al
      4       A. Yes.                                          4     ORIGINAL TO: MR. CARPENTER, ESQ.
                                                                            I, the above-named deponent in the
      5       Q. But you're hearing about that from            5     deposition taken in the herein styled and numbered
                                                                     cause, certify that I have examined the deposition
      6   people saying he let you go because you didn't       6     taken on the date above as to the correctness
      7   support him?                                               thereof, and that after reading said pages, I find
                                                               7     them to contain a full and true transcript of the
      8       A. Yes.                                                testimony as given by me.
                                                               8            Subject to those corrections listed below,
      9       Q. Okay. And if I understand you                       if any, I find the transcript to be the correct
     10   correctly, you have a right to support whoever you   9     testimony I gave at the aforestated time and place.
                                                                     Page Line                   Comments
     11   want to?                                             10    ____ ____ _______________________________
                                                                     ____ ____ _______________________________
     12       A. Yes.                                          11    ____ ____ _______________________________
     13       Q. Okay. Fair enough.                                  ____ ____ _______________________________
                                                               12    ____ ____ _______________________________
     14          That's all the questions I have.                    ____ ____ _______________________________
                                                               13    ____ ____ _______________________________
     15       A. And I went to the library Friday, this              ____ ____ _______________________________
     16   Friday just passed. Nancy Green was there. And       14    ____ ____ _______________________________
                                                                     ____ ____ _______________________________
     17   she was talking about how the peoples been coming    15    ____ ____ _______________________________
                                                                     ____ ____ _______________________________
     18   in the library talking about how Sheriff Bailey      16    ____ ____ _______________________________
     19   did the workers. It's still going on. It's not       17
                                                               18         This the ____ day of _________, 2025.
     20   hush, hush. Everybody is still talking about it.     19                       ____________________
                                                                                        BONITA BLAKE
     21       Q. That's right. I follow you.                   20    State of Mississippi
     22          And your understanding that, from Nancy             County of ______________
                                                               21
     23   Green is, it's Sheriff Bailey that's doing things            Subscribed and sworn to before me, this the
                                                               22    _____ day of _____________, 2025.
     24   wrong?                                               23    My Commission Expires:
     25       A. Yes.                                          24    _____________________ _______________________
                                                               25                     Notary Public


                                                Page 43                                                                    Page 45
      1       Q. She's not coming back to report that           1               CERTIFICATE OF COURT REPORTER
      2    you're doing anything wrong?                         2               I, Robin G. Burwell, Court Reporter and
      3       A. No.                                            3       Notary Public, in and for the State of Mississippi,
      4       Q. Fair enough. That's all I got.                 4       hereby certify that the foregoing contains a true
      5            (Time Noted: 12:05 p.m.)                     5       and correct transcript of the testimony of BONITA
                                                                6       BLAKE, as taken by me in the aforementioned matter
      6              SIGNATURE/NOT WAIVED
                                                                7       at the time and place heretofore stated, as taken by
      7
                                                                8       stenotype and later reduced to typewritten form
      8    ORIGINAL: MR. CARPENTER, ESQ.                        9       under my supervision by means of computer-aided
      9    COPY: MR. RHODES, ESQ.                              10       transcription.
     10                                                        11               I further certify that under the authority
     11                                                        12       vested in me by the State of Mississippi that the
     12                                                        13       witness was placed under oath by me to truthfully
     13                                                        14       answer all questions in the matter.
     14                                                        15               I further certify that, to the best of my
     15                                                        16       knowledge, I am not in the employ of or related to
     16                                                        17       any party in this matter and have no interest,
     17                                                        18       monetary or otherwise, in the final outcome of this
     18                                                        19       matter.
     19                                                        20               Witness my signature and seal this the
     20                                                        21       30th day of April, 2025.
                                                               22
     21
                                                               23                     _______________________
     22
                                                                                      ROBIN G. BURWELL, #1651
     23                                                        24                     CRR, RPR, CCR
     24                                                                 My Commission Expires:
     25                                                        25       April 6, 2029


                                                                                        12 (Pages 42 to 45)
                                       Brooks Court Reporting
                                           1-800-245-3376
